                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

 UNITED STATES OF AMERICA,                      )
           Plaintiff,                           )
                                                )         Case No.: 17-05023-01-CR-SW-RK
v.                                              )
                                                )         Date: September 17, 2018
 RAYMOND ADAIR,                                 )
          Defendant.                            )

                                      MINUTE SHEET


The Honorable Roseann A. Ketchmark, presiding at Springfield, Missouri

Nature of Proceeding: Sentencing

Time commenced: 3:48 p.m. (2:00)                    Time terminated: 4:35 p.m.


                                     APPEARANCES

Plaintiff’s counsel: Ami Miller, AUSA
Defendant’s counsel: Erica Mynarich, Retained
Probation officer:   Claudia Allison


PROCEEDINGS IN COURTROOM: Parties appear as indicated above. Defendant appears
in person. Defendant’s objection to the PSIR regarding Paragraph 9 is granted and will be
amended as stated on the record. Defendant’s remaining objection to the Colorado reports is
denied. The Court adopts the Report as amended. Sentencing recommendations presented by
counsel. Allocution granted to the defendant.

SENTENCE: Defendant sentenced to the custody of the Bureau of Prisons for a term of 121
          months on Count 1 and 120 months on Count 2 of the Indictment, to be served
          concurrently, for a total term of 121 months. This sentence shall be served
          concurrently with defendant’s sentence in 16MC-CR00521-01, McDonald
          County Circuit Court Pineville, MO. The Court’s intent is that Defendant receive
          Federal credit while being detained from 5/26/17 – 4/16/18 (11 months).
          Supervised release of 10 years on Count 1 and 3 years on Count 2, the terms to
          run concurrently, w/mandatory, standard, and special conditions imposed. Fine
          $150,000. MSA of $200.00 imposed. JVTA: $5,000.000. Restitution: $0.
          Defendant advised of right to appeal. Defendant remanded to the custody of the
          U.S. Marshal.

               The Court recommends to the Federal Bureau of Prisons that upon defendant’s

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               request, he be screened for placement at Texarkana FCI.




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